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      MIGUEL HERNANDEZ
 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                 Case No.:
      MIGUEL HERNANDEZ,
11                 Plaintiff,                      COMPLAINT FOR INJUNCTIVE
                                                   RELIEF AND DAMAGES FOR DENIAL
12          vs.                                    OF CIVIL RIGHTS OF A DISABLED
                                                   PERSON IN VIOLATIONS OF
13
                                                   1. AMERICANS WITH DISABILITIES
14                                                 ACT, 42 U.S.C. §12131 et seq.;
      DIAMOND RESTAURANTS INC. D/B/A
15    JIMMY DEANS; FONTE J. AXOTIS, AS             2. CALIFORNIA’S UNRUH CIVIL
      TRUSTEE OF THE AXOTIS FAMILY                 RIGHTS ACT;
16
      TRUST; and DOES 1 to 10,                     3. CALIFORNIA’S DISABLED
17                                                 PERSONS ACT;
                   Defendants.
18                                                 4. CALIFORNIA HEALTH & SAFETY
                                                   CODE;
19
                                                   5. NEGLIGENCE
20
21
22
23
24          Plaintiff MIGUEL HERNANDEZ (“Plaintiff”) complains of Defendants
25    DIAMOND RESTAURANTS INC. D/B/A JIMMY DEANS; FONTE J. AXOTIS, AS
26    TRUSTEE OF THE AXOTIS FAMILY TRUST; and DOES 1 to 10 (“Defendants”) and
27    alleges as follows:
28




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 1                                              PARTIES
 2             1.   Plaintiff is a California resident with a physical disability. Plaintiff suffers
 3    from paraplegia, chronic pain with hypertension secondary to the injury and lumbar
 4    strain, and is substantially limited in his ability to walk. Plaintiff requires the use of a
 5    wheelchair at all times when traveling in public.
 6             2.   Defendants are, or were at the time of the incident, the real property owners,
 7    business operators, lessors and/or lessees of the real property for a restaurant
 8    (“Business”) located at or about 22941 Lyons Ave., Newhall, California.
 9             3.   The true names and capacities, whether individual, corporate, associate or
10    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
11    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
12    Court to amend this Complaint when the true names and capacities have been
13    ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
14    fictitiously named Defendants are responsible in some manner, and therefore, liable to
15    Plaintiff for the acts herein alleged.
16             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
17    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
18    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
19    the things alleged herein was acting with the knowledge and consent of the other
20    Defendants and within the course and scope of such agency or employment relationship.
21             5.   Whenever and wherever reference is made in this Complaint to any act or
22    failure to act by a defendant or Defendants, such allegations and references shall also be
23    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
24    and severally.
25                                  JURISDICTION AND VENUE
26             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
27    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
28    seq.).



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 1          7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7    property which is the subject of this action is located in this district, Los Angeles County,
 8    California, and that all actions complained of herein take place in this district.
 9                                      FACTUAL ALLEGATIONS
10          10.    In or about June of 2024, Plaintiff went to the Business.
11          11.    The Business is a restaurant business establishment, open to the public, and
12    is a place of public accommodation that affects commerce through its operation.
13    Defendants provide parking spaces for customers.
14          12.    While attempting to enter the Business during each visit, Plaintiff personally
15    encountered a number of barriers that interfered with his ability to use and enjoy the
16    goods, services, privileges, and accommodations offered at the Business.
17          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18    included, but were not limited to, the following:
19                 a.     Defendants failed to comply with the federal and state standards for
20                        the parking space designated for persons with disabilities. Defendants
21                        failed to provide proper van accessible space designated for the
22                        persons with disabilities as there were no “NO PARKING” markings
23                        painted on the surface of the access aisle.
24                 b.     Defendants failed to maintain the parking space designated for
25                        persons with disabilities to comply with the federal and state
26                        standards. Defendants failed to maintain the mark on the space with
27                        the International Symbol of Accessibility, resulting in the paint
28                        becoming severely deteriorated, hindering visibility.



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 1                 c.     Defendants failed to maintain the parking space designated for
 2                        persons with disabilities to comply with the federal and state
 3                        standards. Defendants failed to maintain the paint on the ground as
 4                        required, resulting in the markings becoming severely deteriorated,
 5                        hindering visibility.
 6                 d.     Defendants failed to comply with the federal and state standards for
 7                        the parking space designated for persons with disabilities. Defendants
 8                        failed to provide an access aisle with level surface slope.
 9          14.    These barriers and conditions denied Plaintiff the full and equal access to the
10    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
11    patronize the Business; however, Plaintiff is deterred from visiting the Business because
12    his knowledge of these violations prevents him from returning until the barriers are
13    removed.
14          15.    Based on the violations, Plaintiff alleges, on information and belief, that
15    there are additional barriers to accessibility at the Business after further site inspection.
16    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
17    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
18          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
19    knew that particular barriers render the Business inaccessible, violate state and federal
20    law, and interfere with access for the physically disabled.
21          17.    At all relevant times, Defendants had and still have control and dominion
22    over the conditions at this location and had and still have the financial resources to
23    remove these barriers without much difficulty or expenses to make the Business
24    accessible to the physically disabled in compliance with ADDAG and Title 24
25    regulations. Defendants have not removed such barriers and have not modified the
26    Business to conform to accessibility regulations.
27    //
28    //



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 1                                      FIRST CAUSE OF ACTION
 2           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 3          18.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 6    shall be discriminated against on the basis of disability in the full and equal enjoyment of
 7    the goods, services, facilities, privileges, advantages, or accommodations of any place of
 8    public accommodation by any person who owns, leases, or leases to, or operates a place
 9    of public accommodation. See 42 U.S.C. § 12182(a).
10          20.    Discrimination, inter alia, includes:
11                 a.    A failure to make reasonable modification in policies, practices, or
12                       procedures, when such modifications are necessary to afford such
13                       goods, services, facilities, privileges, advantages, or accommodations
14                       to individuals with disabilities, unless the entity can demonstrate that
15                       making such modifications would fundamentally alter the nature of
16                       such goods, services, facilities, privileges, advantages, or
17                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
18                 b.    A failure to take such steps as may be necessary to ensure that no
19                       individual with a disability is excluded, denied services, segregated or
20                       otherwise treated differently than other individuals because of the
21                       absence of auxiliary aids and services, unless the entity can
22                       demonstrate that taking such steps would fundamentally alter the
23                       nature of the good, service, facility, privilege, advantage, or
24                       accommodation being offered or would result in an undue burden. 42
25                       U.S.C. § 12182(b)(2)(A)(iii).
26                 c.    A failure to remove architectural barriers, and communication barriers
27                       that are structural in nature, in existing facilities, and transportation
28                       barriers in existing vehicles and rail passenger cars used by an



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 1                        establishment for transporting individuals (not including barriers that
 2                        can only be removed through the retrofitting of vehicles or rail
 3                        passenger cars by the installation of a hydraulic or other lift), where
 4                        such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 5                 d.     A failure to make alterations in such a manner that, to the maximum
 6                        extent feasible, the altered portions of the facility are readily
 7                        accessible to and usable by individuals with disabilities, including
 8                        individuals who use wheelchairs or to ensure that, to the maximum
 9                        extent feasible, the path of travel to the altered area and the
10                        bathrooms, telephones, and drinking fountains serving the altered
11                        area, are readily accessible to and usable by individuals with
12                        disabilities where such alterations to the path or travel or the
13                        bathrooms, telephones, and drinking fountains serving the altered area
14                        are not disproportionate to the overall alterations in terms of cost and
15                        scope. 42 U.S.C. § 12183(a)(2).
16          21.    Where parking spaces are provided, accessible parking spaces shall be
17    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
18    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
19    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
20    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
21    be a van accessible parking space. 2010 ADA Standards § 208.2.4.
22          22.    For the parking spaces, access aisles shall be marked with a blue painted
23    borderline around their perimeter. The area within the blue borderlines shall be marked
24    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
25    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
26    be painted on the surface within each access aisle in white letters a minimum of 12 inches
27    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
28    11B-502.3.3.



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 1          23.    Here, Defendants failed to provide a proper access aisle as there were no
 2    “NO PARKING” markings painted on the parking surface. Additionally, the blue
 3    hatched lines, which indicate the presence of the access aisle were severely deteriorated,
 4    hindering visibility.
 5          24.    The surface of each accessible car and van space shall have surface
 6    identification complying with either of the following options: The outline of a profile
 7    view of a wheelchair with occupant in white on a blue background a minimum 36” wide
 8    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
 9    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
10    length of the parking space and its lower side or corner aligned with the end of the
11    parking space length or by outlining or painting the parking space in blue and outlining
12    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
13    occupant. See CBC § 11B-502.6.4, et seq.
14          25.    Here, Defendants failed to maintain the mark on the space with the
15    International Symbol of Accessibility, resulting in the paint becoming severely
16    deteriorated, hindering visibility.
17          26.    Under the 1991 Standards, parking spaces and access aisles must be level
18    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
19    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
20    shall be part of an accessible route to the building or facility entrance and shall comply
21    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
22    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
23    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
24    directions. 1991 Standards § 4.6.3.
25          27.    Here, the access aisle is not level with the parking spaces. Under the 2010
26    Standards, access aisles shall be at the same level as the parking spaces they serve.
27    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
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 1    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 2    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
 3          28.      A public accommodation shall maintain in operable working condition those
 4    features of facilities and equipment that are required to be readily accessible to and usable
 5    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 6          29.      By failing to maintain the facility to be readily accessible and usable by
 7    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 8    regulations.
 9          30.      The Business has denied and continues to deny full and equal access to
10    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
11    discriminated against due to the lack of accessible facilities, and therefore, seeks
12    injunctive relief to alter facilities to make such facilities readily accessible to and usable
13    by individuals with disabilities.
14                                  SECOND CAUSE OF ACTION
15                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
16          31.      Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18          32.      California Civil Code § 51 states, “All persons within the jurisdiction of this
19    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
20    national origin, disability, medical condition, genetic information, marital status, sexual
21    orientation, citizenship, primary language, or immigration status are entitled to the full
22    and equal accommodations, advantages, facilities, privileges, or services in all business
23    establishments of every kind whatsoever.”
24          33.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
25    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
26    for each and every offense for the actual damages, and any amount that may be
27    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
28    amount of actual damage but in no case less than four thousand dollars ($4,000) and any



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 1    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 2    person denied the rights provided in Section 51, 51.5, or 51.6.
 3          34.    California Civil Code § 51(f) specifies, “a violation of the right of any
 4    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 5    shall also constitute a violation of this section.”
 6          35.    The actions and omissions of Defendants alleged herein constitute a denial
 7    of full and equal accommodation, advantages, facilities, privileges, or services by
 8    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 9    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
10    51 and 52.
11          36.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
12    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
13    damages as specified in California Civil Code §55.56(a)-(c).
14                                   THIRD CAUSE OF ACTION
15                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
16          37.    Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18          38.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
19    entitled to full and equal access, as other members of the general public, to
20    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
21    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
22    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
23    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
24    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
25    places of public accommodations, amusement, or resort, and other places in which the
26    general public is invited, subject only to the conditions and limitations established by
27    law, or state or federal regulation, and applicable alike to all persons.
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 1         39.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 2   corporation who denies or interferes with admittance to or enjoyment of public facilities
 3   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 4   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 5   the actual damages, and any amount as may be determined by a jury, or a court sitting
 6   without a jury, up to a maximum of three times the amount of actual damages but in no
 7   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 8   determined by the court in addition thereto, suffered by any person denied the rights
 9   provided in Section 54, 54.1, and 54.2.
10         40.    California Civil Code § 54(d) specifies, “a violation of the right of an
11   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
12   constitute a violation of this section, and nothing in this section shall be construed to limit
13   the access of any person in violation of that act.
14         41.    The actions and omissions of Defendants alleged herein constitute a denial
15   of full and equal accommodation, advantages, and facilities by physically disabled
16   persons within the meaning of California Civil Code § 54. Defendants have
17   discriminated against Plaintiff in violation of California Civil Code § 54.
18         42.    The violations of the California Disabled Persons Act caused Plaintiff to
19   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
20   statutory damages as specified in California Civil Code §55.56(a)-(c).
21                                FOURTH CAUSE OF ACTION
22                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
23         43.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         44.    Plaintiff and other similar physically disabled persons who require the use of
26   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
27   such facility is in compliance with the provisions of California Health & Safety Code §
28




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 1   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 2   provisions of California Health & Safety Code § 19955 et seq.
 3          45.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 4   that public accommodations or facilities constructed in this state with private funds
 5   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 6   Title 1 of the Government Code. The code relating to such public accommodations also
 7   require that “when sanitary facilities are made available for the public, clients, or
 8   employees in these stations, centers, or buildings, they shall be made available for
 9   persons with disabilities.
10          46.    Title II of the ADA holds as a “general rule” that no individual shall be
11   discriminated against on the basis of disability in the full and equal enjoyment of goods
12   (or use), services, facilities, privileges, and accommodations offered by any person who
13   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
14   Further, each and every violation of the ADA also constitutes a separate and distinct
15   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
16   award of damages and injunctive relief pursuant to California law, including but not
17   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
18                                   FIFTH CAUSE OF ACTION
19                                         NEGLIGENCE
20          47.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22          48.    Defendants have a general duty and a duty under the ADA, Unruh Civil
23   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
24   to the Plaintiff.
25          49.    Defendants breached their duty of care by violating the provisions of ADA,
26   Unruh Civil Rights Act and California Disabled Persons Act.
27          50.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
28   has suffered damages.



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 1                                    PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 3   Defendants as follows:
 4         1.     For preliminary and permanent injunction directing Defendants to comply
 5   with the Americans with Disability Act and the Unruh Civil Rights Act;
 6         2.     Award of all appropriate damages, including but not limited to statutory
 7   damages, general damages and treble damages in amounts, according to proof;
 8         3.     Award of all reasonable restitution for Defendants’ unfair competition
 9   practices;
10         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
11   action;
12         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
13         6.     Such other and further relief as the Court deems just and proper.
14                              DEMAND FOR TRIAL BY JURY
15         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
16   demands a trial by jury on all issues so triable.
17
18   Dated: September 23, 2024                      SO. CAL. EQUAL ACCESS GROUP
19
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21                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
22                                                  Attorneys for Plaintiff
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